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Timothy E. Lando, Jr. #06A5781
Wyoming Correctional Facility

P.O. Box 501
Attica, N.Y. 14011-0501
U.S. District Court
P.O. Box 7367
100 S. Clinton Street
Syracuse, N.Y. 13261-7367 October 12,

 

US, DISTRICT COURT - N.D. OF N.Y |

 
   

AT O'CLOCK
John M. Domurad, Clerk - Sys aiCuise |

|
Re: Lando v. Claudio, et., al. |
Northern District of New York

18-CV-1472 TJIM/TWD

Dear Magistrate Judge Therese Wiley Dancks,

PLEASE TAKE NOTICE, that plaintiff Timothy E. Lando, Jr.,
neweaddress as of October 18, 2021 will be 2144 Rabbit Lane,
Phoenix, N.Y. 13135.

Thank you for your time and continued consideration in this

very important matter. |

Respectfully Submitted,

C Winds c Jeund O, Set.

Timothy E. Lando, Jr. pro se

cc:copy
